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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ALLIED WORLD NATIONAL                         )
 ASSURANCE COMPANY,                            )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )
                                               )
 LG CONSTRUCTION GROUP, LLC; and               )
 LAURA RICKETTS, as the sole                   )
 beneficiary with power of direction under     )
 the Trust Agreement dated April 15, 2010      )
 and known as Trust No. 8002354843,            )
                                               )
         Defendants.                           )

                      COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, Allied World National Assurance Company, Inc. (“Allied World”), by and

through its counsel, for its Complaint for Declaratory Judgment against Defendants, LG

Construction Group, LLC (“LG”), and Laura Ricketts (“Ricketts”), as sole beneficiary with power

of direction under the Trust Agreement dated April 15, 2010 and known as Trust No. 8002354843

(“Trust”), states as follows:

                                      INTRODUCTION

       1.       Pursuant to 28 U.S.C. §§ 2201 and 2202, Allied World seeks a declaratory

judgment that it does not have a duty to indemnify LG under commercial general liability and

commercial umbrella liability insurance policies relative to an arbitration proceeding captioned

Laura Ricketts, as the sole beneficiary with power of direction under the Trust Agreement dated

April 15, 2020 and known as Trust No. 8002354843, of which Chicago Title Land Trust Company

is Trustee v. LG Construction Group LLC, No. 01-19-0002-4280-1, pending before the American

Arbitration Association (the “Arbitration”).
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       2.        Ricketts contracted LG to serve as the general contractor for the construction of a

new and custom-built, luxury single-family home located at 430 North Sheridan Road, Wilmette,

Illinois (the “Property” or “Project”).

       3.        Ricketts claims that upon moving into the Property in the Summer of 2015,

construction of the Property was not complete, and claims that by the Summer of 2016, the

Property was riddled with significant construction defects. As a result, Ricketts filed the

Arbitration against LG, claiming that LG breached its contract with Ricketts and seeking to hold

LG liable for its faulty workmanship in defectively constructing the Property.

       4.        LG seeks indemnification from Allied World under a commercial general liability

policy and a commercial umbrella liability policy for the liability LG faces in the Arbitration.

       5.        The Allied World policies only potentially provide coverage, in relevant part, for

those sums that LG is legally obligated to pay as damages because of “property damage” caused

by an “occurrence” and the “property damage” takes place during the Allied World policies’

policy period.

       6.        Ricketts does not seek to hold LG liable in the Arbitration for damage to property

other than to LG’s own work. In particular, Ricketts seeks to hold LG liable for the cost to

remediate the construction defects caused by LG’s faulty workmanship. These costs, however,

do not constitute “property damage” caused by an “occurrence.”

       7.        In addition, the construction defects resulting from LG’s faulty workmanship were

discovered by Ricketts, at the latest, in the Summer of 2016. The Allied World policies did not

incept, however, until January 24, 2018. Thus, the damage LG faces liability for in the Arbitration

did not occur during the Allied World policies’ policy period.

       8.        Further, the Allied World policies also include various policy exclusions that apply




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to further preclude coverage for the Arbitration.

           9.    Because LG faces liability solely for amounts to repair and remediate its defective

construction of the Property, which occurred prior to the inception of the Allied World policies,

Allied World owes no indemnity obligation to LG in connection with the Arbitration.

           10.   Accordingly, a real, substantial, and justiciable controversy exists between Allied

World and LG with respect to Allied World’s rights, duties, and obligations under the Allied

World commercial general liability and commercial umbrella liability policies relative to the

Arbitration, which is subject to resolution by this Court under 28 U.S.C. §§ 2201 and 2202.

                                              PARTIES

           11.   Plaintiff Allied World is a New Hampshire corporation with its principal place of

business in New York, New York.

           12.   Defendant LG is an Illinois limited liability company.           Its member is LG

Development Group LLC. LG Development Group LLC is an Illinois limited liability company.

Its members are Brian, Foldberg, Matt Wilke, Cuda Development Group LLC, and ML

Development Group LLC. Brian Goldberg and Matt Wilke are Illinois residents and, therefore,

Illinois citizens. Cuda Development Group LLC is an Illinois limited liability company. Its

member is Barry Howard. Barry Howard is an Illinois resident and, therefore, an Illinois citizen.

Consequently, Cuda Development Group LLC is an Illinois citizen. ML Development Group

LLC is an Illinois limited liability company. Its member is Marc Lifshin. Marc Lifshin is an

Illinois resident and, therefore, an Illinois citizen. Consequently, ML Development Group LLC

is an Illinois citizen. Consequently, as all of its members are Illinois citizens, LG is an Illinois

citizen.

           13.   Defendant Ricketts is a natural person and citizen of the State of Illinois and is the




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sole beneficiary with power of direction under the Trust.

          14.   At all times relevant, the Trust held title to the Property, which is located at 430

Sheridan Road, Wilmette, Illinois.

          15.   Ricketts is the underlying claimant in the Arbitration and has named LG as the

respondent in the Arbitration. Ricketts is named in this declaratory judgment action as a nominal

defendant from whom no relief is sought other than that she be bound by the judgment sought

herein.

                                 JURISDICTION AND VENUE

          16.   This Court has subject matter jurisdiction under 28 U.S.C. § 2201 and 28 U.S.C.

§ 1332 as complete diversity of citizenship exists between the parties, the matter in controversy,

exclusive of interest and costs, exceeds the sum of Seventy-Five Thousand Dollars ($75,000), and

an actual controversy exists between the parties within the meaning of 28 U.S.C. § 2201.

          17.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the alleged

events and omissions giving rise to this action occurred in this district, and because Defendants

are subject to this Court’s jurisdiction.

                                   FACTUAL BACKGROUND

A.        The LG Contract

          18.   On or around June 20, 2011, Ricketts contracted Morgante Wilson Architects, Ltd.

to design the Project.

          19.   On or around September 29, 2012, Ricketts contracted LG to serve as the general

contractor for the construction of the Project (the “LG Contract”, a copy of which is attached as

Exhibit A).

          20.   The LG Contract provides that LG shall perform all work on the Project, as




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described in the Contract Documents, except to the extent specifically indicated in the LG

Contract. (Ex. A, AWNAC000002.)

       21.     The LG Contract also provides that LG “shall supervise and direct the Work, using

[LG’s] best skill and attention” and that LG “shall be solely responsible for and have control over

construction means, methods, techniques, sequences and procedures, and for coordinating all

portions of the Work under the [LG Contract], unless the Contract Documents give other specific

instructions concerning these matters.” (Ex. A, AWNAC000007.)

       22.     The LG Contract provides that construction of the Project was to begin on

September 26, 2012, or seven calendar days after the issuance of the building permit by the

Village of Wilmette, whichever is later. (Ex. A, AWNAC000002.)

       23.     The LG Contract provides that the Project was set to achieve Substantial

Completion within 548 days of commencement of the work. (Ex. A, AWNAC000002.)

B.     The Arbitration

       24.     On August 1, 2019, Ricketts filed a Demand for Arbitration against LG.

       25.     On August 27, 2021, Ricketts filed a First Amended Demand for Arbitration.

       26.     On November 7, 2022, Ricketts filed the operative Second Amended Demand for

Arbitration (the “Amended Demand”, a copy of which is attached as Exhibit B).

       27.     The Amended Demand alleges that in September of 2012, Ricketts and LG entered

into the LG Contract. (Ex. B, AWNAC000055.)

       28.     The Amended Demand alleges, on information and belief, that LG engaged a

related company which shares LG’s personnel and business address, LG Construction +

Development, to assist LG with the management and construction of the Project. (Ex. B,

AWNAC000062.)




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       29.     The Amended Demand alleges that both LG and LG Construction + Development,

on behalf of and acting with the full authority of LG, entered into subcontracts with various trades,

vendors, and suppliers to perform work at and for the Project. (Ex. B, AWNAC000062-63.)

       30.     The Amended Demand alleges that LG was required to construct the Project in

accordance with industry standards associated with and required in the construction of a new

high-quality, luxury single-family residential home. (Ex. B, AWNAC000060.)

       31.     The Amended Demand alleges that LG’s work, however, did not comply with the

requirements of the LG Contract in that it was “defective” and “remains incomplete.” (Ex. B,

AWNAC000062.)

       32.     The Amended Demand alleges that LG breached the LG Contract by failing to

perform work in accordance with the LG Contract; perform work consistent with what a

contractor would construct when making a “luxury single-family residence;” perform work using

LG’s best skill and attention; construct the Project in a workmanlike manner; construct the Project

in a manner to make “parts fit together properly;” correct work that did not conform with the

requirements of the contract documents; employ, coordinate, or oversee fit persons or persons

skilled in tasks assigned to them; properly account for credits due and owing to Ricketts; and

properly coordinate the work being performed. (Ex. B, AWNAC000065-66.)

       33.     The Amended Demand alleges LG’s failure to properly construct, manage,

coordinate, and complete construction of the Project in accordance with the Project Contract

Documents and industry standards, customs, and practices led to “defects, omissions, and lack of

coordination in the performance of the Work,” resulting in a delay in the progression and

completion of work for the Project. (Ex. B, AWNAC000055-56, AWNAC000063.)

       34.     The Amended Demand alleges that, despite contracting LG in September of 2012




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to construct the Project, the Project was still incomplete in the late Summer of 2015, when

Ricketts moved into the Property. The Amended Demand alleges, however, that LG and Ricketts

agreed that LG would continue constructing the Project to completion. (Ex. B, AWNAC000055,

AWNAC000063-64.)

       35.    The Amended Demand alleges that, in the Summer of 2016, and because of LG’s

numerous failures, Ricketts received a home that was “riddled with multiple defects and

unfinished work affecting virtually every room and every system in the home.” (Ex. B,

AWNAC000055-56.)

       36.    The Amended Demand alleges that LG’s defective and/or incomplete work

includes: defective millwork, defective painting and wall finishes, improperly installed windows

and doors, defective flooring, improperly installed radiant floor heating, improperly performed

electrical work, improperly installed interior and exterior plumbing and drainage, improperly

installed exterior roofing and membranes, improperly constructed exterior kitchen and three-

season porch, defective carpentry, failed and missing flashing, improperly installed stone work,

defective tiling, defective HVAC systems, defective pool finishing and tiling, and improperly

installed skylights. (Ex. B, AWNAC000056.)

       37.    The Amended Demand alleges that some of the construction defects were so

extensive that Ricketts and her family became concerned about health and safety issues. (Ex. B,

AWNAC000056.)

       38.    The Amended Demand alleges that as a result of the numerous defects, unfinished

work, and safety and health concerns, it will cost millions of dollars to remediate the damages

and bring the Property back to the condition LG was contractually required to provide. (Ex. B,

AWNAC000057.)




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       39.     The Amended Demand asserts a single cause of action against LG for Breach of

Contract, alleging that the LG Contract is a valid and enforceable contract, that Ricketts

performed her obligations under it, and that LG breached it in numerous ways, including “failing

to perform the Work in accordance with the Contract Documents.” (Ex. B, AWNAC000064-82.)

       40.     The Amended Demand alleges that Ricketts “has been damaged by LG’s defective

Work and its failure to perform the Work in accordance with the [LG Contract] and in accordance

with industry standards, customs, and practice” and Ricketts will “continue to incur significant

costs to remediate and repair the defects and deficiencies to the Project caused by LG.” (Ex. B,

AWNAC000080.)

       41.     The Amended Demand alleges that Ricketts has been further damaged in that she

already paid for various remediation services with respect to the HVAC and water infiltration at

the Property. (Ex. B, AWNAC000081.)

       42.     The Amended Demand alleges that, as a direct and proximate result of LG’s

breaches of the LG Contract, Ricketts has identified damages “due to LG’s defective Work,”

which include costs related to amounts necessary to “complete and/or correct” LG’s defective

work and/or defective work performed at LG’s direction and has been damaged in an amount in

excess of $10 million. (Ex. B, AWNAC000081.)

       43.     The Amended Demand alleges that Ricketts is entitled to damages “as a result of

LG’s breach of the” LG Contract. (Ex. B, AWNAC000081.)

       44.     The Arbitration is close to conclusion, and a ruling by the arbitration panel

presiding over the Arbitration is expected in the near term.




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                             THE ALLIED WORLD POLICIES

A.     The Allied World CGL Policy

       45.     Allied World issued to Goldberg Development LLC Commercial General Liability

policy no. 0311-1547, effective January 24, 2018 to January 24, 2019, with limits of $1,000,000

per occurrence and $10,000,000 in the general aggregate (the “Allied World CGL Policy”, a copy

of which is attached as Exhibit C.)

       46.     LG is an Insured pursuant to the terms of the Allied World CGL Policy.

       47.     The Allied World CGL Policy potentially provides coverage, in relevant part, only

for those sums that LG is legally obligated to pay as damages because of “property damage”

caused by an “occurrence” and the “property damage” occurs during the Allied World CGL

Policy’s policy period:

               SECTION I – COVERAGES

               COVERAGE A – BODILY INJURY AND PROPERTY
               DAMAGE LIABILITY

               1.     Insuring Agreement

                      a.      We will pay those sums that the insured becomes
                              legally obligated to pay as damages because of
                              “bodily injury” or “property damage” to which this
                              insurance applies. We will have the right and duty
                              to defend the insured against any “suit” seeking
                              those damages. However, we will have no duty to
                              defend the insured against any “suit” seeking
                              damages for “bodily injury” or “property damage”
                              to which this insurance does not apply. We may, at
                              our discretion, investigate any “occurrence” and
                              settle any claim or “suit” that may result. But:

                              (1)     The amount we will pay for damages is
                                      limited as described in Section III – Limits
                                      Of Insurance; and

                              (2)     Our right and duty to defend ends when we



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                                      have used up the applicable limit of
                                      insurance in the payment of judgments or
                                      settlements under Coverages A or B or
                                      medical expenses under Coverage C.

                              No other obligation or liability to pay sums or
                              perform acts or services is covered unless explicitly
                              provided for under Supplementary Payments –
                              Coverages A and B.

                       b.     This insurance applies to “bodily injury” and
                              “property damage” only if:

                              (1)     The “bodily injury” or “property damage” is
                                      caused by an “occurrence” that takes place
                                      in the “coverage territory”;

                              (2)     The “bodily injury” or “property damage”
                                      occurs during the policy period; and

                              (3)     Prior to the policy period, no insured listed
                                      under Paragraph 1. of Section II – Who Is
                                      An Insured and no “employee” authorized
                                      by you to give or receive notice of an
                                      “occurrence” or claim, knew that the “bodily
                                      injury” or “property damage” had occurred,
                                      in whole or in part. If such a listed insured
                                      or authorized “employee” knew, prior to the
                                      policy period, that the “bodily injury” or
                                      “property damage” occurred, then any
                                      continuation, change or resumption of such
                                      “bodily injury” or “property damage” during
                                      or after the policy period will be deemed to
                                      have been known prior to the policy period.

                                         *       *      *

       (Ex. C, AWNAC000088.)

       48.     Coverage under the Allied World CGL Policy is subject to Exclusion b.

Contractual Liability, which provides, in relevant part, that the Allied World CGL Policy does

not provide coverage for “property damage” for which LG is obligated to pay damages by reason

of the assumption of liability in a contract or agreement:



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               2.      Exclusions

                       This insurance does not apply to:

                                         *      *       *

                       b.     Contractual Liability

                              “Bodily injury” or “property damage” for which the
                              insured is obligated to pay damages by reason of the
                              assumption of liability in a contract or agreement.
                              This exclusion does not apply to liability for
                              damages:

                              (1)     That the insured would have in the absence
                                      of the contract or agreement; or

                              (2)     Assumed in a contract or agreement that is
                                      an “insured contract”, provided the “bodily
                                      injury” or “property damage” occurs
                                      subsequent to the execution of the contract
                                      or agreement. Solely for the purposes of
                                      liability assumed in an “insured contract”,
                                      reasonable attorneys’ fees and necessary
                                      litigation expenses incurred by or for a party
                                      other than an insured are deemed to be
                                      damages because of “bodily injury” or
                                      “property damage”, provided:

                                      (a)     Liability to such party for, or for the
                                              cost of, that party’s defense has also
                                              been assumed in the same “insured
                                              contract”; and

                                      (b)     Such attorneys’ fees and litigation
                                              expenses are for defense of that party
                                              against a civil or alternative dispute
                                              resolution proceeding in which
                                              damages to which this insurance
                                              applies are alleged.

       (Ex. C, AWNAC000089.)

       49.     Coverage under the Allied World CGL Policy is subject to Exclusion j. Damage

to Property, subparagraphs (5) and (6), which provide, in relevant part, that the Allied World CGL

Policy does not provide coverage for “property damage” (1) to that particular part of real property


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on which LG or any contractors or subcontractors working directly or indirectly on LG’s behalf

are performing operations; or (2) to that particular part of any property that must be restored,

repaired or replaced because LG’s work was incorrectly performed on it:

               2.     Exclusions

                      This insurance does not apply to:

                                        *       *      *

                      j.      Damage To Property

                              “Property damage” to:

                                        *      *       *
                              (5)    That particular part of real property on
                                     which you or any contractors or
                                     subcontractors     working     directly  or
                                     indirectly on your behalf are performing
                                     operations, if the “property damage” arises
                                     out of those operations; or

                              (6)    That particular part of any property that
                                     must be restored, repaired or replaced
                                     because “your work” was incorrectly
                                     performed on it.

                                        *       *      *

                              Paragraphs (6) of this exclusion does not apply to
                              “property damage” included in the “products-
                              completed operations hazard”.

       (Ex. C, AWNAC000091-92.)

       50.     Coverage under the Allied World CGL Policy is subject to Exclusion k. Damage

to Your Product, which provides, in relevant part, that the Allied World CGL Policy does not

provide coverage for “property damage” to LG’s product arising out of it or any part of it:

               2.     Exclusions

                      This insurance does not apply to:



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                                       *       *       *

                      k.     Damage to Your Product

                             “Property damage” to “your product” arising out of
                             it or any part of it.

       (Ex. C, AWNAC000092.)

       51.    Coverage under the Allied World CGL Policy is subject to Exclusion m. Damage

to Impaired Property, which provides, in relevant part, that the Allied World CGL Policy does

not provide coverage, in relevant part, for “property damage” to “impaired property” or property

that has not been physically injured, arising out of (1) a defect, deficiency, inadequacy, or

dangerous condition in LG’s product or LG’s work; or (2) a delay or failure by LG or anyone

acting on LG’s behalf to perform a contract or agreement in accordance with its terms:

              2.      Exclusions

                      This insurance does not apply to:

                                       *       *       *

                      m.     Damage To Impaired Property or Property Not
                             Physically Injured

                             “Property damage” to “impaired property” or
                             property that has not been physically injured, arising
                             out of:

                             (1)     A defect, deficiency, inadequacy or
                                     dangerous condition in “your product” or
                                     “your work”; or

                             (2)     A delay or failure by you or anyone acting
                                     on your behalf to perform a contract or
                                     agreement in accordance with its terms.

                             This exclusion does not apply to the loss of use of
                             other property arising out of sudden and accidental
                             physical injury to “your product” or “your work”
                             after it has been put to its intended use.



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       (Ex. C, AWNAC000092.)

       52.     The Allied World CGL Policy also includes a Fungi Or Bacteria Exclusion

endorsement, which precludes coverage under the Allied World CGL Policy, in relevant part, for

(1) “property damage” which would not have occurred, in whole or in part, but for the actual,

alleged, or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or

presence of, any “fungi” or bacteria on or within a building or structure, including its contents,

regardless of whether any other cause, event, material or product contributed concurrently or in

any sequence to such injury or damage; and (2) any loss, cost or expenses arising out of abatement,

testing for, monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing,

remediating or disposing of, or in any way responding to, or assessing the effects of, “fungi” or

bacteria, by LG or any other person or entity:

                            FUNGI OR BACTERIA EXCLUSION

                                         *       *      *

               A.      The following exclusion is added to Paragraph 2.
                       Exclusions of Section I – Coverage A – Bodily Injury
                       And Property Damage Liability:

                       2. Exclusions

                       This insurance does not apply to:

                       Fungi Or Bacteria

                       a.     “Bodily injury” or “property damage” which would
                              not have occurred, in whole or in part, but for the
                              actual, alleged or threatened inhalation of, ingestion
                              of, contact with, exposure to, existence of, or
                              presence of, any “fungi” or bacteria on or within a
                              building or structure, including its contents,
                              regardless of whether any other cause, event,
                              material or product contributed concurrently or in
                              any sequence to such injury or damage.



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               b.     Any loss, cost or expenses arising out of the abating,
                      testing for, monitoring, cleaning up, removing,
                      containing, treating, detoxifying, neutralizing,
                      remediating or disposing of, or in any way
                      responding to, or assessing the effects of, “fungi” or
                      bacteria, by any insured or by any other person or
                      entity.

                                *       *       *

  (Ex. C, AWNAC000125.)

  53.   The Allied World CGL Policy defines “impaired property” as:

        8.     “Impaired property” means tangible property, other than
               “your product” or “your work”, that cannot be used or is
               less useful because:

               a.     It incorporates “your product” or “your work” that
                      is known or thought to be defective, deficient,
                      inadequate or dangerous; or

               b.     You have failed to fulfill the terms of a contract or
                      agreement;

               if such property can be restored to use by the repair,
               replacement, adjustment or removal of “your product” or
               “your work” or your fulfilling the terms of the contract or
               agreement.

  (Ex. C, AWNAC000100.)

  54.   The Allied World CGL Policy defines “insured contract,” in relevant part, as:

        9.     “Insured contract” means:

                                *       *       *

               f.     That part of any other contract or agreement
                      pertaining to your business (including an
                      indemnification of a municipality in connection
                      with work performed for a municipality) under
                      which you assume the tort liability of another party
                      to pay for “bodily injury” or “property damage” to
                      a third person or organization. Tort liability means



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                               a liability that would be imposed by law in the
                               absence of any contract or agreement.

                                         *       *       *

       (Ex. C, AWNAC000101.)

       55.     The Allied World CGL Policy defines “occurrence” as “an accident, including

continuous or repeated exposure to substantially the same general harmful conditions.” (Ex. C,

AWNAC000102.)

       56.     The Allied World CGL Policy defines “products-completed operations hazard,” in

relevant part, to include all “property damage” occurring away from premises LG owns or rents

and arising out of LG’s product or LG’s work except for (1) products that are still in LG’s physical

possession; or (2) work that has not yet been completed or abandoned:

               16.     “Products-completed operations hazard”:

                       a.      Includes all “bodily injury” and “property damage”
                               occurring away from premises you own or rent and
                               arising out of “your product” or “your work” except:

                               (1)    Products that are still in your physical
                                      possession; or

                               (2)    Work that has not yet been completed or
                                      abandoned. However, “your work” will be
                                      deemed completed at the earliest of the
                                      following times:

                                      (a)     When all of the work called for in
                                              your contract has been completed.

                                      (b)     When all of the work to be done at
                                              the job site has been completed if
                                              your contract calls for work at more
                                              than one job site.

                                      (c)     When that part of the work done at a
                                              job site has been put to its intended
                                              use by any person or organization
                                              other than another contractor or
                                              subcontractor working on the same


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                                               project.

                                        Work that may need service, maintenance,
                                        correction, repair or replacement, but which
                                        is otherwise complete, will be treated as
                                        completed.

                                          *       *       *

       (Ex. C, AWNAC000102.)

       57.     The Allied World CGL Policy defines “property damage,” in relevant part, as (1)

physical injury to tangible property; and (2) loss of use of tangible property that is not physically

injured:

               16.     “Property damage” means:

                       a.      Physical injury to tangible property, including all
                               resulting loss of use of that property. All such loss
                               of use shall be deemed to occur at the time of the
                               physical injury that caused it; or

                       b.      Loss of use of tangible property that is not
                               physically injured. All such loss of use shall be
                               deemed to occur at the time of the “occurrence” that
                               caused it.

                                          *       *       *

       (Ex. C, AWNAC000102-103.)

       58.     The Allied World CGL Policy defines “your product” as:

               21.     “Your product”:

                       a.      Means:

                               (1)      Any goods or products, other than real
                                        property, manufactured, sold, handled,
                                        distributed or disposed of by:

                                        (a)    You;

                                        (b)    Others trading under your name; or

                                        (c)    A person or organization whose
                                               business or assets you have acquired;


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                                     and

                     (2)      Containers (other than vehicles), materials,
                              parts or equipment furnished in connection
                              with such goods or products.

               b.    Includes:

                     (1)      Warranties or representations made at any
                              time with respect to the fitness, quality,
                              durability, performance or use of “your
                              product”; and

                     (2)      The providing of or failure to provide
                              warnings or instructions.

               c.    Does not include vending machines or other
                     property rented to or located for the use of others but
                     not sold.

  (Ex. C, AWNAC000103.)

  59.   The Allied World CGL Policy defines “your work” as:

        22.    “Your work”:

               a.    Means:

                     (1)      Work or operations performed by you or on
                              your behalf; and

                     (2)      Materials, parts or equipment furnished in
                              connection with such work or operations.

               b.    Includes:

                     (1)      Warranties or representations made at any
                              time with respect to the fitness, quality,
                              durability, performance or use of “your
                              work”; and

                     (2)      The providing of or failure to provide
                              warnings or instructions.

  (Ex. C, AWNAC000103.)




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       60.    The Allied World CGL Policy defines “fungi” as “any type or form of fungus,

including mold or mildew and any mycotoxins, spores, scents or byproducts produced or released

by fungi.” (Ex. C, AWNAC000125.)

B.     The Allied World Umbrella Policy

       61.    Allied World issued to Goldberg Development LLC Umbrella General Liability

policy no. 0311-1548, effective January 24, 2018 to January 24, 2019, with limits of $10,000,000

per occurrence and $10,000,000 in the general aggregate subject to a $10,000 self-insured

retention (the “Allied World Umbrella Policy”, a copy of which is attached as Exhibit D.)

       62.    LG is an Insured pursuant to the terms of the Allied World Umbrella Policy.

       63.    The Allied World Umbrella Policy potentially provides coverage, in relevant part,

only for those sums in excess of the Retained Limit that LG becomes legally obligated to pay as

damages by reason of liability imposed by law because of Property Damage caused by an

Occurrence and the Property Damage occurs during the Allied World Umbrella Policy’s Policy

Period:

              I.      INSURING AGREEMENT – COMMERCIAL
                      UMBRELLA LIABILITY

                      A.     We will pay on behalf of the Insured those sums in
                             excess of the Retained Limit that the Insured
                             becomes legally obligated to pay as damages by
                             reason of liability imposed by law because of Bodily
                             Injury, Property Damage or Personal Injury and
                             Advertising Injury to which this insurance applies
                             or because of Bodily Injury or Property Damage to
                             which this insurance applies assumed by the Insured
                             under an Insured Contract.

                             The amount we will pay for damages is limited as
                             described in Section III., “Limits of Insurance.”

                      B.     This policy applies, only if:

                             1.      the Bodily Injury or Property Damage is



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                                     caused by an Occurrence that takes place
                                     anywhere, and the Bodily Injury or
                                     Property Damage occurs during the Policy
                                     Period; and

                             2.      the Personal Injury and Advertising
                                     Injury is caused by an Occurrence that takes
                                     place anywhere arising out of your business,
                                     but only if the Occurrence was committed
                                     during the Policy Period.

                                        *       *      *

       (Ex. D, AWNAC000209.)

       64.    Allied World owes no obligations under the Allied World Umbrella Policy, if any,

unless and until the total applicable limits of Scheduled Underlying Insurance have been

exhausted by the payment of Loss to which this policy applies and any applicable Other

Insurance has been exhausted by the payment of the Loss, or the total applicable Self-Insured

Retention has been satisfied by the payment of Loss to which this policy applies:

              III.    LIMITS OF INSURANCE

                                        *       *      *

                      J.   We will not make any payment under this policy unless
                           and until:

                           1.     the total applicable limits of Scheduled
                                  Underlying Insurance have been exhausted by
                                  the payment of Loss to which this policy applies
                                  and any applicable Other Insurance has been
                                  exhausted by the payment of Loss; or

                           2.     the total applicable Self-Insured Retention has
                                  been satisfied by the payment of Loss to which
                                  this policy applies.

                                        *       *      *

       (Ex. D, AWNAC000212.)




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       65.     Coverage under the Allied World Umbrella Policy is subject to a Fungus

Exclusion endorsement, which precludes coverage under the Allied World Umbrella Policy, in

relevant part, for Property Damage arising from or associated with clean-up, remediation,

containment, removal or abatement, caused directly or indirectly, in whole or in part, by: (1) any

Fungus(i), Mold(s), mildew or yeast; (2) any Spore(s) or toxins created or produced by or

emanating from such Fungus(i), Mold(s), mildew or yeast; (3) any substance, vapor, gas, or

other emission or organic or inorganic body or substance produced by or arising out of any

Fungus(i), Mold(s), mildew or yeast; or (4) any material, product, building component, building

or structure, or any concentration of moisture, water or other liquid within such material, product,

building component, building or structure, that contains, harbors, nurtures or acts as a medium

for any Fungus(i), Mold(s), mildew, yeast, or Spore(s) or toxins emanating therefrom, regardless

of any other cause, event, material, product and/or building component that contributed

concurrently or in any sequence to that Loss, injury, damage, cost or expense:

                                     FUNGUS EXCLUSION

               A.      It is agreed that the following exclusion is added under
                       Section IV., “Exclusions”:

                       Fungus

                       This policy does not provide coverage for Bodily Injury,
                       Property Damage, or Personal Injury and Advertising
                       Injury or any other Loss, injury, damage, cost or expense,
                       including but not limited to, Losses, costs or expenses
                       related to, arising from or associated with clean-up,
                       remediation, containment, removal or abatement, caused
                       directly or indirectly, in whole or in part, by:

                       a.       Any Fungus(i), Mold(s), mildew or yeast;

                       b.       Any Spore(s) or toxins created or produced by or
                                emanating from such Fungus(i), Mold(s), mildew
                                or yeast;



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                     c.       Any substance, vapor, gas, or other emission or
                              organic or inorganic body or substance produced by
                              or arising out of any Fungus(i), Mold(s), mildew or
                              yeast; or

                     d.       Any material, product, building component,
                              building or structure, or any concentration of
                              moisture, water or other liquid within such material,
                              product, building component, building or structure,
                              that contains, harbors, nurtures or acts as a medium
                              for any Fungus(i), Mold(s), mildew, yeast, or
                              Spore(s) or toxins emanating therefrom, regardless
                              of any other cause, event, material, product and/or
                              building component that contributed concurrently
                              or in any sequence to that Loss, injury, damage, cost
                              or expense.

                                        *      *       *

       (Ex. D, AWNAC000177.)

       66.    Coverage under the Allied World Umbrella Policy is subject to a Contractors’

Limitation endorsement, which precludes coverage, in relevant part, for Property Damage to

property being installed, erected, or worked upon by LG or by any agents or subcontractors of

LG; or any liability assumed by LG under any contract or agreement:

                             CONTRACTORS’ LIMITATION

              It is agreed that the following exclusion is added under Section IV.,
              “Exclusions”:

              Contractors

              This policy does not provide coverage for:

                                        *      *       *

              2.     Property Damage to property being installed, erected or
                     worked upon by the Insured or by any agents or
                     subcontractors of the Insured;

                                        *      *       *




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               6.      Any liability assumed by the Insured under any contract or
                       agreement.

               Paragraphs 5 and 6 of this endorsement will not apply if coverage is
               provided for such Property Damage by Scheduled Underlying
               Insurance.

               Coverage under this policy for such Property Damage will follow
               the terms, definitions, conditions and exclusions of Scheduled
               Underlying Insurance, subject to the Policy Period, Limits of
               Insurance, premium and all other terms, definitions, conditions, and
               exclusions of this policy. Provided, however, that coverage provided
               by this policy will be no broader than the coverage proved by
               Scheduled Underlying Insurance.

       (Ex. D, AWNAC000179.)

       67.     Coverage under the Allied World Umbrella Policy is subject to an Exterior

Insulation and Finishing Systems (EFIS) Exclusion, which precludes coverage, in relevant part,

for Property Damage included within the Products-Completed Operations Hazard arising in

whole or in part out of the design, manufacture, construction fabrication, preparation, installation,

application, maintenance, or repair, including remodeling, service, correction or replacement, of

any Exterior Insulation and Finish System (EIFS) or any part thereof, or any substantially

similar system or any part thereof, including the application or use of conditioners, primers,

accessories, flashings, coatings, caulking or sealants in connection with such a system:

                    EXTERIOR INSULATION AND FINISHING SYSTEMS
                                 (EFIS) EXCLUSION

               It is agreed that the following paragraph is added under Section
               IV., “Exclusions”:

               Exterior Insulation and Finish Systems

               This policy does not apply for Bodily Injury, Property Damage or
               Personal Injury and Advertising Injury, included within the
               Products-Completed Operations Hazard arising in whole or in
               part out of the design, manufacture, construction, fabrication,
               preparation, installation, application, maintenance or repair,



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               including remodeling, service, correction or replacement, of any
               Exterior Insulation and Finish System (EIFS) or any part thereof,
               or any substantially similar system or any part thereof, including the
               application or use of conditioners, primers, accessories, flashings,
               coatings, caulking or sealants in connection with such a system.

                                         *      *       *

       (Ex. D, AWNAC000181.)

       68.     Coverage under the Allied World Umbrella Policy is also subject to a Residential

Construction Operations Exclusion (With Limitation for Scheduled Projects), which precludes

coverage, in relevant part, for any liability arising out of Residential Construction Operations,

whether or not the Residential Construction Operations have been completed or are ongoing:

                    RESIDENTIAL CONSTRUCTION OPERATIONS
                                 EXCLUSION
                  (WITH LIMITATION FOR SCHEDULED PROJECTS)

               It is agreed that this policy is amended as follows:

               Section IV. EXCLUSIONS is amended to include the following
               additional exclusion:

               Residential Construction Operations

               This policy does not provide coverage for any liability arising out
               of Residential Construction Operations. This exclusion applies
               whether or not the Residential Construction Operations have
               been completed or are ongoing.

                                         *      *       *

       (Ex. D, AWNAC000206.)

       69.     Coverage under the Allied World Umbrella Policy is also subject to Exclusion C.

Contractual Liability, which provides, in relevant part, that the Allied World Umbrella Policy

does not provide coverage for Property Damage for which LG is obligated to pay damages by

reason of the assumption of liability in a contract or agreement:

               IV.     EXCLUSIONS


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                                           *      *       *

                       C.     Contractual Liability

                              This policy does not provide coverage for any
                              liability for which the Insured is obligated to pay
                              damages by reason of the assumption of liability in a
                              contract or agreement. This exclusion does not apply
                              to liability for damages:

                              1.      that the Insured would have in the absence
                                      of a contract or agreement; or

                              2.      assumed in an Insured Contract, provided
                                      Bodily Injury or Property Damage occurs
                                      subsequent to the execution of the Insured
                                      Contract. Solely for the purposes of liability
                                      assumed in an Insured Contract, reasonable
                                      attorney fees and necessary litigation
                                      expenses incurred by or for a party other than
                                      an Insured are deemed to be damages
                                      because of Bodily Injury or Property
                                      Damage and included in the Limits of
                                      Insurance of this policy, provided:

                                      a.       liability to such party for, or for the
                                               cost of, that party's defense has also
                                               been assumed in the same Insured
                                               Contract; and

                                      b.       such attorney fees and litigation
                                               expenses are for the defense of that
                                               party against a civil or alternative
                                               dispute resolution proceeding in
                                               which damages to which this policy
                                               applies are alleged.

       (Ex. D, AWNAC000213-214.)

       70.     The Allied World Umbrella Policy also includes Exclusion D. Damage to

Impaired Property or Property Not Physically Injured, which provides that the Allied World

Umbrella Policy does not provide coverage, in relevant part, for Property Damage to Impaired

Property or property that has not been physically injured, arising out of (1) a defect, deficiency,




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inadequacy, or dangerous condition in LG’s product or LG’s work; or (2) a delay or failure by

LG or anyone acting on LG’s behalf to perform a contract or agreement in accordance with its

terms:

               IV.     EXCLUSIONS

                                         *      *       *

                       D.     Damage To Impaired Property or Property Not
                              Physically Injured

                              This policy does not provide coverage for Property
                              Damage to Impaired Property or property that has
                              not been physically injured, arising out of:

                              1.      A defect, deficiency, inadequacy or
                                      dangerous condition in Your Product or
                                      Your Work; or

                              2.      A delay or failure by you or anyone acting
                                      on your behalf to perform a contract or
                                      agreement in accordance with its terms.

                              This exclusion does not apply to the loss of use of
                              other property arising out of sudden and accidental
                              physical injury to Your Product or Your Work
                              after it has been put to its intended use.

         (Ex. D, AWNAC000214.)

         71.   Coverage under the Allied World Umbrella Policy is subject to Exclusion E.

Damage to Property, subparagraphs (5) and (6), which provide, in relevant part, that the Allied

World Umbrella Policy does not provide coverage for Property Damage (1) to that particular

part of real property on which LG or any contractors or subcontractors working directly or

indirectly on LG’s behalf are performing operations; or (2) to that particular part of any property

that must be restored, repaired or replaced because LG’s work was incorrectly performed on it:

               IV.     EXCLUSIONS

                                         *       *       *


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                      E.     Damage to Property

                             This policy does not provide coverage for Property
                             Damage to:

                                       *       *      *

                             5.     that particular part of real property on which
                                    you or any contractors or subcontractors
                                    working directly or indirectly on your behalf
                                    are performing operations, if the Property
                                    Damage arises out of those operations; or

                             6.     that particular part of any property that must
                                    be restored, repaired or replaced because
                                    Your Work was incorrectly performed on it.

                                       *       *      *

                             Subparagraph 6. of this exclusion does not apply to
                             Property Damage included in the Products-
                             Completed Operations Hazard.

        (Ex. D, AWNAC000214.)

        72.   Coverage under the Allied World Umbrella Policy is subject to Exclusion F.

Damage to Your Product, which provides, in relevant part, that the Allied World Umbrella Policy

does not provide coverage for Property Damage to LG’s product arising out of it or any part of

it:

              IV.     EXCLUSIONS

                                       *       *      *

                      F.     Damage to Your Product

                             This policy does not provide coverage for Property
                             Damage to Your Product arising out of it or any
                             part of it.

        (Ex. D, AWNAC000214.)




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       73.    The Allied Work Umbrella Policy defines Fungus(i) as “any of the plants or

organisms belonging to the major group Fungi, lacking chlorophyll, and including molds, rusts,

mildew, smuts and mushrooms.” (Ex. D, AWNAC000177.)

       74.    The Allied Work Umbrella Policy defines Mold(s) as “any superficial growth

produced on damp or decaying organic matter or on living organisms, and Fungi that produce

molds.” (Ex. D, AWNAC000177.)

       75.    The Allied World Umbrella Policy defines Spore(s) as “any dormant or

reproductive body produced by or arising or emanating out of any Fungus(i), Mold(s), mildew,

plants, organisms or microorganisms.” (Ex. D, AWNAC000177.)

       76.    The Allied World Umbrella Policy defines Exterior Insulation and Finish

System as:

                   EXTERIOR INSULATION AND FINISHING SYSTEMS
                                (EFIS) EXCLUSION

                                       *       *      *

              “Exterior Insulation and Finish System” means a non-load
              bearing exterior cladding or finish system, and all component parts
              therein, used on any part of any structure, and typically consisting
              of:

              1.      A rigid or semi-rigid insulation board made of polystyrene,
                      polysisacyanurate foam and/or other materials;

              2.      The adhesive and/or mechanical fasteners used to attach the
                      insulation board to the substrate;

              3.      A reinforced or unreinforced base coat;

              4.      A finish coat providing surface texture to which color may
                      be added; and

              5.      Any flashing, caulking or sealant used with the system for
                      any purpose.

       (Ex. D, AWNAC000181.)



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       77.     The Allied World Umbrella Policy defines Residential Construction Operations

as “any activity by or on behalf of any Insured, in any capacity, regarding, related to, or in support

of, any construction of detached single family houses, attached single family houses, residential

condominiums or residential cooperative.” (Ex. D, AWNAC000206.)

       78.     The Allied World Umbrella Policy defines Impaired Property as:

               E.      Impaired Property means tangible property, other than
                       Your Product or Your Work, that cannot be used or is less
                       useful because:

                       1.      it incorporates Your Product or Your Work that is
                               known or thought to be defective, deficient,
                               inadequate or dangerous; or

                       2.      you have failed to fulfill the terms of a contract or
                               agreement;

                       if such property can be restored to use by:

                       1.      the repair, replacement, adjustment or removal of
                               Your Product or Your Work; or

                       2.      your fulfilling the terms of the contract or agreement.

       (Ex. D, AWNAC000227.)

       79.     The Allied World Umbrella Policy defines Insured Contract, in relevant part, as:

               G.      Insured Contract means that part of any contract or
                       agreement pertaining to your business under which any
                       Insured assumes the tort liability of another party to pay for
                       Bodily Injury or Property Damage to a third person or
                       organization. Tort liability means a liability that would be
                       imposed by law in the absence of any contract or agreement.

                       Insured Contract does not include that part of any contract
                       or agreement:

                                          *       *       *

                       2.      that indemnifies an architect, engineer or surveyor
                               for injury or damage arising out of:




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                              a.        preparing, approving, or failing to prepare or
                                        approve, maps, shop drawings, opinions,
                                        reports, surveys, field orders, change orders
                                        or drawings and specifications; or
                              b.        giving directions or instructions, or failing to
                                        give them, if that is the primary cause of the
                                        injury or damage; or

                      3.      under which the Insured, if an architect, engineer or
                              surveyor, assumes liability for an injury or damage
                              arising out of the Insured's rendering or failure to
                              render professional services, including those shown
                              in subparagraph 2. above and supervisory,
                              inspection, architectural or engineering activities.

       (Ex. D, AWNAC000228-229.)

       80.     The Allied World Umbrella Policy defines Loss as “those sums actually paid as

judgments or settlements, provided, however, that if expenses incurred to defend a Suit or to

investigate a claim reduce the applicable limits of Scheduled Underlying Insurance, then Loss

shall include such expenses.” (Ex. D, AWNAC000229.)

       81.     The Allied World Umbrella Policy defines Occurrence, in relevant part, as “an

accident, including continuous or repeated exposure to substantially the same general harmful

conditions.” (Ex. D, AWNAC000231.)

       82.     The Allied World Umbrella Policy defines Products-Completed Operations

Hazard, in relevant part, as follows:

               P.     Products-Completed Operations Hazard means all
                      Bodily Injury and Property Damage occurring away from
                      premises you own or rent and arising out of Your Product
                      or Your Work except:

                      1.      products that are still in your physical possession; or

                      2.      work that has not yet been completed or abandoned.
                              However, Your Work will be deemed completed at
                              the earliest of the following times:




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                               a.      when all of the work called for in your
                                       contract has been completed;

                                          *       *       *

                               c.      when that part of the work done at a job site
                                       has been put to its intended use by any person
                                       or organization other than another contractor
                                       or subcontractor working on the same
                                       project. Work that may need service,
                                       maintenance,       correction,    repair    or
                                       replacement, but which is otherwise
                                       complete, will be treated as completed.

                                          *       *       *

        (Ex. D, AWNAC000231-232.)

        83.     The Allied World Umbrella Policy defines Property Damage, in relevant part, as

(1) “physical injury to tangible property, including all resulting loss of use of that property,” and

(2) “loss of use of tangible property that is not physically injured.” (Ex. D, AWNAC000232.)

        84.     The Allied World Umbrella Policy defines Retained Limit, in relevant part, as:

                R.     Retained Limit means the greater of the following amounts:

                       1.      the total applicable limits of Scheduled Underlying
                               Insurance and any applicable Other Insurance
                               providing coverage to the Insured; or

                       2.      the Self-Insured Retention applicable to each
                               Occurrence that results in damages not covered by
                               Scheduled Underlying Insurance nor any
                               applicable Other Insurance providing coverage to
                               the Insured.

                                          *       *       *

        (Ex. D, AWNAC000232.)

        85.     The Allied World Umbrella Policy defines Scheduled Underlying Insurance, in

relevant part, as:

                S.     Scheduled Underlying Insurance means:


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                    1.     the policy or policies of insurance and limits of
                           insurance shown in the Schedule of Underlying
                           Insurance forming a part of this policy; and

                    2.     automatically any renewal or replacement of any
                           policy in subparagraph 1. above, provided that such
                           renewal or replacement provides equivalent
                           coverage to and affords limits of insurance equal to
                           or greater than the policy being renewed or replaced.

                                     *       *      *

        (Ex. D, AWNAC000232.)

        86.   The Allied World Umbrella Policy defines Self-Insured Retention, in relevant

part, as:

              T.    Self-Insured Retention means the amount that is shown in
                    Item 5. of the Declarations.

        (Ex. D, AWNAC000233.)

        87.   The Allied World Umbrella Policy defines Your Product as:

              V.    Your Product means:

                    1.     any goods or products, other than real property,
                           manufactured, sold, handled, distributed or disposed
                           of by:

                           a.     you;

                           b.     others trading under your name; or

                           c.     a person or organization whose business or
                                  assets you have acquired; and

                    2.     containers (other than vehicles), materials, parts or
                           equipment furnished in connection with such goods
                           or products.

                    Your Product includes:




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                     1.       warranties or representations made at any time with
                              respect to the fitness, quality, durability,
                              performance or use of Your Product; and

                     2.       the providing of or failure to provide warnings or
                              instructions. Your Product does not include vending
                              machines or other property rented to or located for
                              the use of others but not sold.

       (Ex. D, AWNAC000233.)

       88.    The Allied World Umbrella Policy defines Your Work, in relevant part, as:

              W.     Your Work means:

                     1.       work or operations performed by you or on your
                              behalf; and

                     2.       materials, parts or equipment furnished in connection
                              with such work or operations.

                     Your Work includes:

                     1.       warranties or representations made at any time with
                              respect to the fitness, quality, durability,
                              performance or use of Your Work; and

                     2.       the providing of or failure to provide warnings or
                              instructions.

       (Ex. D, AWNAC000233.)

                      COUNT I – DECLARATORY JUDGMENT
                    No Duty to Indemnify – Allied World CGL Policy

       89.    Allied World incorporates paragraphs 1-88 as though fully restated herein.

       90.    The Allied World CGL Policy potentially provides coverage, in relevant part, only

for those sums that LG becomes legally obligated to pay as damages because of “property

damage” caused by an “occurrence” and the “property damage” occurs during the Allied World

CGL Policy’s policy period.




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       91.     “Property damage” is defined by the Allied World CGL Policy, in relevant part,

as (1) “[p]hysical injury to tangible property, including all resulting loss of use of that property”;

and (2) “[l]oss of use of tangible property that is not physically injured.”

       92.     “Occurrence” is defined by the Allied World CGL Policy as “an accident,

including continuous or repeated exposure to substantially the same general harmful conditions.”

       93.     LG seeks coverage under the Allied World CGL Policy for the Arbitration.

       94.     The Amended Demand alleges that pursuant to the LG Contract, LG would serve

as the general contractor for construction of the Project.

       95.     The Amended Demand alleges, however, that LG failed to (1) “properly construct

the Project in accordance with the Project Contract Documents;” (2) “properly construct the

Project in accordance with the industry standards, customs, and practice;” (3) “properly manage

the scheduling and sequencing of the trades for the Project;” (4) “properly coordinate the

construction and installation of materials and equipment with the Project Architect, Morgante-

Wilson Architects, Ltd.;” (5) “provide, coordinate, and install the proper materials for the

Project;” (6) “properly manage the overall work;” and (7) “complete the Project as required.” (Ex.

B, AWNAC000055-56.)

       96.     As a result of LG’s alleged faulty workmanship and defective construction of the

Project, the Amended Demand alleges that “the Project is riddled with multiple defects and

unfinished work affecting virtually every room and every system in the home.” (Ex. B,

AWNAC000056.)

       97.     Consequently, Ricketts claims that LG breached the LG Contract, and Ricketts

seeks to hold LG liable for the costs to repair and/or remediate the construction defects caused by

LG’s and its subcontractors’ faulty workmanship in constructing the Project.




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       98.     The Amended Demand alleges damage only to LG’s work in constructing the

Property. The Amended Demand does not allege damage to any other property.

       99.     Costs to repair and/or replace an insured’s faulty workmanship and/or defective

construction does not constitute “property damage” caused by an “occurrence,” as those terms

are defined by the Allied World CGL Policy.

       100.    Accordingly, the Arbitration does not seek to hold LG liable for “property

damage” caused by an “occurrence,” and therefore, Allied World owes no duty to indemnify LG

for the Arbitration under the Allied World CGL Policy.

       101.    In addition, the Allied World CGL Policy only potentially provides coverage, in

relevant part, for damages because of “property damage” caused by an “occurrence” if the

“property damage” occurs during the Allied World CGL Policy’s policy period.

       102.    The Allied World CGL Policy incepted on January 24, 2018, and terminated on

January 24, 2019.

       103.    The Amended Demand alleges that upon Ricketts moving into the Property in the

Summer of 2015, the Property was still incomplete, but it was agreed that LG would continue to

finish construction of the Property.

       104.    The Amended Demand alleges that by the Summer of 2016, the Property was

“riddled with significant construction defects due to, among other things,” LG’s faulty

workmanship. (Ex. B, AWNAC000055.)

       105.    In other words, the construction defects caused by LG’s faulty workmanship first

occurred, at the latest, in 2016, which is prior to the inception of the Allied World CGL Policy.

       106.    Accordingly, LG does not potentially face liability in the Arbitration for covered

“property damage” that occurred during the Allied World CGL Policy’s policy period, and




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therefore, Allied World further owes no duty to indemnify LG for the Arbitration under the Allied

World CGL Policy.

       107.    Further, even if LG faced liability in the Arbitration for “property damage” caused

by an “occurrence” and the “property damage” occurred during the Allied World CGL Policy’s

policy period, which it does not, Exclusion b. Contractual Liability, Exclusion j.(5)-(6) Damage

to Property, Exclusion k. Damage to Your Product, Exclusion m. Damage to Impaired Property,

and the Fungi Or Bacteria Exclusion endorsement exclude coverage for LG under the Allied

World CGL Policy for the Arbitration.

       108.    Accordingly, a real, substantial, and justiciable controversy exists between Allied

World and LG with respect to Allied World’s rights, duties, and obligations under the Allied

World CGL Policy relative to the Arbitration, which is subject to resolution by this Court under

28 U.S.C. §§ 2201 and 2202.

                      COUNT II – DECLARATORY JUDGMENT
                   No Duty to Indemnify – Allied World Umbrella Policy

       109.    Allied World incorporates paragraphs 1-108 as though fully restated herein.

       110.    The Allied World Umbrella Policy potentially provides coverage, in relevant part,

only for those sums in excess of the Retained Limit that LG becomes legally obligated to pay as

damages by reason of liability imposed by law because of Property Damage caused by an

Occurrence and the Property Damage occurs during the Allied World Umbrella Policy’s Policy

Period.

       111.    The Allied World Umbrella Policy only provides coverage in excess of the

Retained Limit.

       112.    The Retained Limit is defined by the Allied World Umbrella Policy, in relevant

part, as the greater of (1) the total applicable limits of Scheduled Underlying Insurance and any



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applicable Other Insurance providing coverage to the Insured, or (2) the Self-Insured

Retention applicable to each Occurrence that results in damages not covered by Scheduled

Underlying Insurance nor any applicable Other Insurance providing coverage to the Insured.

        113.    Scheduled Underlying Insurance is defined by the Allied World Umbrella

Policy, in relevant part, as the policy or policies of insurance and limits of insurance shown in the

Schedule of Underlying Insurance forming part of the Allied World Umbrella Policy.

        114.    The Allied World Umbrella Policy shows the Allied World CGL Policy in the

Allied World Umbrella Policy’s Schedule of Underlying Insurance.

        115.    Allied World CGL Policy limits are $1,000,000 per occurrence.

        116.    Self-Insured Retention is defined by the Allied World Umbrella Policy, in

relevant part, as $10,000.

        117.    The Allied World Umbrella Policy’s total applicable limits and Self-Insured

Retention have not been exhausted, nor have all applicable Other Insurance providing coverage

to LG for the Arbitration been exhausted.

        118.    Property Damage is defined by the Allied World Umbrella Policy, in relevant

part, as (1) physical injury to tangible property, including all resulting loss of use of that property;

and (2) loss of use of tangible property that is not physically injured.

        119.    Occurrence is defined by the Allied World Umbrella Policy, in relevant part, as

an accident.

        120.    LG seeks coverage under the Allied World Umbrella Policy for the Arbitration.

        121.    The Amended Demand alleges that pursuant to the LG Contract, LG would serve

as the general contractor for construction of the Project.




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       122.    The Amended Demand alleges, however, that LG failed to (1) “properly construct

the Project in accordance with the Project Contract Documents;” (2) “properly construct the

Project in accordance with the industry standards, customs, and practice;” (3) “properly manage

the scheduling and sequencing of the trades for the Project;” (4) “properly coordinate the

construction and installation of materials and equipment with the Project Architect, Morgante-

Wilson Architects, Ltd.;” (5) “provide, coordinate, and install the proper materials for the

Project;” (6) “properly manage the overall work;” and (7) “complete the Project as required.”

(Ex. B, AWNAC000055-56.)

       123.    As a result of LG’s alleged faulty workmanship and defective construction of the

Project, the Amended Demand alleges that “the Project is riddled with multiple defects and

unfinished work affecting virtually every room and every system in the home.”              (Ex. B,

AWNAC000056.)

       124.    Consequently, Ricketts claims that LG breached the LG Contract, and Ricketts

seeks to hold LG liable for the costs to repair and/or remediate the construction defects caused by

LG’s and its subcontractors’ faulty workmanship in constructing the Project.

       125.    The Amended Demand alleges damage only to LG’s work in constructing the

Property. The Amended Demand does not allege damage to any other property.

       126.    Costs to repair and/or replace an insured’s faulty workmanship and/or defective

construction does not constitute Property Damage caused by an Occurrence, as those terms are

defined by the Allied World Umbrella Policy.

       127.    Accordingly, the Arbitration does not seek to hold LG liable for Property

Damage caused by an Occurrence, and therefore, Allied World owes no duty to indemnify LG

for the Arbitration under the Allied World Umbrella Policy.




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          128.   The Allied World Umbrella Policy incepted on January 24, 2018, and terminated

on January 24, 2019.

          129.   The Amended Demand alleges that upon Ricketts moving into the Property in the

Summer of 2015, the Property was still incomplete, but it was agreed that LG would continue to

finish construction of the Property.

          130.   The Amended Demand alleges that by the Summer of 2016, the Property was

“riddled with significant construction defects due to, among other things,” LG’s faulty

workmanship. (Ex. B, AWNAC000055.)

          131.   In other words, the construction defects caused by LG’s faulty workmanship first

occurred, at the latest, in 2016, which is prior to the inception of the Allied World Umbrella

Policy.

          132.   Accordingly, LG does not potentially face liability in the Arbitration for covered

Property Damage that occurred during the Allied World Umbrella Policy’s Policy Period, and

therefore, Allied World further owes no duty to indemnify LG for the Arbitration under the Allied

World Umbrella Policy.

          133.   Further, even if LG faces liability in the Arbitration in excess of the Retained

Limit for Property Damage caused by an Occurrence and the Property Damage occurred

during the Allied World Umbrella Policy’s Policy Period, which it does not, the Fungus

Exclusion; Contractors’ Limitation exclusion; Exterior Insulation and Finishing Systems (EFIS)

Exclusion; Residential Construction Operations Exclusion (With Limitation for Scheduled

Projects); Exclusion C. Contractual Liability; Exclusion D. Damage to Impaired Property or

Property Not Physically Injured; Exclusion E.(5)-(6) Damage to Property; and Exclusion F.




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Damage to Your Product exclude coverage for LG under the Allied World Umbrella Policy for

the Arbitration.

       134.    Accordingly, a real, substantial, and justiciable controversy exists between Allied

World and LG with respect to Allied World’s rights, duties, and obligations under the Allied

World Umbrella Policy relative to the Arbitration, which is subject to resolution by this Court

under 28 U.S.C. §§ 2201 and 2202.

                                   PRAYER FOR RELIEF

       WHEREFORE, Allied World respectfully requests that this Court enter judgment in

Allied World’s favor and against Defendants as follows:

       a.      That Allied World owes no duty to indemnify LG under the Allied World CGL

Policy for the Arbitration;

       b.      That Allied World owes no duty to indemnify LG under the Allied World

Umbrella Policy for the Arbitration;

       c.      That LG and Ricketts and the Trust are bound by the final judgment and/or order

entered by this Court; and

       d.      For such other relief as this Court deems just and proper.


Date: June 28, 2024                                  Respectfully submitted,

                                                     ALLIED WORLD NATIONAL
                                                     ASSURANCE COMPANY


                                             By:     /s/ Ian A. Cooper
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